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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

                                               CV-20-40-BU-BMM
 DENISE SANDS,
 Plaintiff,                                       ORDER
 v.
 SALLY BEAUTY SUPPLY, LLC,
 a Virginia corporation,
 Defendant.


      Upon the Joint Stipulation for Dismissal with Prejudice, (Doc. 44), and with
good cause shown, IT IS HEREBY ORDERED that this case is dismissed with
prejudice. Each party shall bear their own fees and costs incurred in this matter.


      DATED this 1st day of November, 2021.




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